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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §
                                            §
VS.                                         §     CRIMINAL NO. H-11-165-5
                                            §
                                            §
                                            §
NATHANIEL GORDON III                        §

                                        ORDER

       The defendant filed an unopposed motion for continuance of the sentencing hearing,

(Docket Entry No. 283).The motion for continuance is GRANTED. The sentencing hearing

is reset to June 3, 2014 at 8:30 a.m.

              SIGNED on April 22, 2014, at Houston, Texas.

                                                ______________________________________
                                                         Lee H. Rosenthal
                                                   United States District Judge
